                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                           CHAPTER 13
 ROSE D. RAJZA, aka
 Rose Deborah Rajza,                              CASE NO. 5:23-bk-01___

 Debtors                                           X ORIGINAL PLAN
                                                     AMENDED PLAN (Indicate 1st , 2nd , 3rd
                                                       , etc.)
                                                     Number of Motions to Avoid Liens
                                                     Number of Motions to Value Collateral

                                       CHAPTER 13 PLAN

                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if neither
box is checked, the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in § 9,           Included       Not
   which are not included in the standard plan as approved by                         Included
   the U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured claim,         Included       Not
   set out in § 2.E, which may result in a partial payment or no                      Included
   payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,                   Included       Not
   nonpurchase-money security interest, set out in § 2.G.                             Included

                             YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or
hearing unless a written objection is filed before the deadline stated on the Notice issued in
connection with the filing of the plan.

1.      PLAN FUNDING AND LENGTH OF PLAN.

     A. Plan Payments From Future Income

       1. To date, the Debtor paid $ 0 (enter $0 if no payments have been made to the Trustee to
date). Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If
applicable, in addition to monthly plan payments, Debtor shall make conduit payments through the
Trustee as set forth below. The total base plan is $ 7,056 , plus other payments and property stated
in § 1B below:




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      Start            End               Plan            Estimated        Total             Total
     mm/yyyy          mm/yyyy          Payment            Conduit        Monthly          Payment
                                                         Payment         Payment         Over Plan
                                                                                             Tier
 07/2023            06/2026         $ 196            N/A               $ 196            $ 7,056


                                                                              Total $ 7,056
                                                                          Payments:

         2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify the Debtor and any attorney for the
Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-
petition mortgage payments that come due before the initiation of conduit mortgage payments.

         3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform
to the terms of the plan.

         4. CHECK ONE: ( X ) Debtor is at or under median income. If this line is checked, the rest
                        of § 1.A.4 need not be completed or reproduced.


     B. Additional Plan Funding From Liquidation of Assets/Other

         1. The Debtor estimates that the liquidation value of this estate is $ 7,016.26 . (Liquidation
            value is calculated as the value of all non-exempt assets after the deduction of valid liens
            and encumbrances and before the deduction of Trustee fees and priority claims.)

         Check one of the following two lines.

          X      No assets will be liquidated. If this line is checked, the rest of § 1.B need not be
                 completed or reproduced.



2.       SECURED CLAIMS.

     A. Pre-Confirmation Distributions. Check one.

     X        None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.


     B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other
        Direct Payments by Debtor. Check one.

              None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

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  X      Payments will be made by the Debtor directly to the creditor according to the original
         contract terms, and without modification of those terms unless otherwise agreed to by
         the contracting parties. All liens survive the plan if not avoided or paid in full under the
         plan.

      Name of Creditor                    Description of Collateral                Last Four
                                                                                    Digits of
                                                                                    Account
                                                                                    Number
PNC Bank                         Debtor’s Residence at 157 Jason Drive           9809
                                 Wilkes Barre, PA 18702
PNC Bank                         Debtor’s Residence                              8000



 C. Arrears, including, but not limited to, claims secured by Debtor’s principal residence.
    Check one.

  X      None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

         The Trustee shall distribute to each creditor set forth below the amount of arrearages in
         the allowed proof of claim. If post-petition arrears are not itemized in an allowed claim,
         they shall be paid in the amount stated below. Unless otherwise ordered, if relief from
         the automatic stay is granted as to any collateral listed in this section, all payments to the
         creditor as to that collateral shall cease, and the claim will no longer be provided for
         under § 1322(b)(5) of the Bankruptcy Code:

 Name of Creditor              Description of           Estimated      Estimated      Estimated
                                Collateral             Pre-petition      Post-        Total to be
                                                        Arrears to      petition       paid in
                                                        be Cured       Arrears to        plan
                                                                       be Cured




 D. Other secured claims (conduit payments, claims for which a § 506 valuation is not
    applicable, etc.)

  X      None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.




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     E. Secured claims for which a § 506 valuation is applicable. Check one.

     X      None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.


     F. Surrender of Collateral. Check one.

     X      None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.


     G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check
        one.

     X      None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.



3.       PRIORITY CLAIMS.

     A. Administrative Claims

         1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by
            the United States Trustee.

         2. Attorney’s fees. Complete only one of the following options:

            a. In addition to the retainer of $ N/A already paid by the Debtor, the amount of
               $ N/A in the plan. This represents the unpaid balance of the presumptively
               reasonable fee specified in L.B.R. 2016-2(c); or

            b. $ MetLife Legal Insurance at Legal Insurance rates per hour, with the hourly rate
               to be adjusted in accordance with the terms of the written fee agreement between the
               Debtor and the attorney. Payment of such lodestar compensation shall require a
               separate fee application with the compensation approved by the Court pursuant to
               L.B.R. 2016-2(b).

         3. Other.      Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                     Check one of the following two lines.

             X       None. If “None” is checked, the rest of § 3.A.3 need not be completed or
                     reproduced.



     B. Priority Claims (including certain Domestic Support Obligations).

         Allowed unsecured claims, entitled to priority under § 1322(a) will be paid in full unless
         modified under § 9.
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                   Name of Creditor                             Estimated Total Payment



     C. Domestic Support Obligations assigned to or owed to a governmental unit under 11
        U.S.C. §507(a)(1)(B). Check one of the following two lines.

           X      None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.



4.         UNSECURED CLAIMS

     A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the
        following two lines.

           X      None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.


     B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds
        remaining after payment of other classes.


5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following
   two lines.

     X         None. If “None” is checked, the rest of § 5 need not be completed or reproduced.



6. VESTING OF PROPERTY OF THE ESTATE.

     Property of the estate will vest in the Debtor upon

     Check the applicable line:

            plan confirmation.
     X      entry of discharge.
            closing of case:


7.         DISCHARGE: (Check one)

     (X)       The debtor will seek a discharge pursuant to § 1328(a).
     ( )       The debtor is not eligible for a discharge because the debtor has previously received a
               discharge described in § 1328(f).


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8. ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
 Level 1 Adequate protection payments                       $ -0-
 Level 2 Debtor’s attorney’s fees.                          $ -0-
 Level 3 Domestic Support Obligations                       $ -0-
 Level 4 Priority claims, pro rata                          $ -0-
 Level 5 Secured claims, pro rata                           $ -0-
 Level 6 Specially classified unsecured claims              $ -0-
 Level 7 General unsecured claims                           $ 6,491
 Level 8 Untimely filed unsecured claims to which the $ -0-
           debtor(s) has/have not objected.
           Subtotal                                                                 $ 6,491
           Trustee Commission (Estimated at 8%)             $ 565
           Total                                                                    $ 7,056

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced.


9.      NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)

     A. This Plan contains 1) a chart in Section 8, above, that contains estimated distributions to
        each class of creditors, in addition to all other items required by the Model Plan; and 2) no
        signature line for a joint debtor as there is none.


Dated: /s/ June 19, 2023                         /s/ J. Zac Christman
                                                J. Zac Christman, Esquire, Attorney for Debtor


                                                /s/ Rose D. Rajza
                                                ROSE D. RAJZA, Debtor


By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.




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